
USCA1 Opinion

	










          June 13, 1996         [NOT FOR PUBLICATION]
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-1486

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  JENNIEROSE LYNCH,

                                Defendant, Appellant.

                              __________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                              __________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Boudin, Circuit Judge.
                                          _____________

                              __________________________

               Jeffrey  M.  Smith  and  Peters,  Smith  &amp;  Moscardelli,  by
               __________________       ______________________________
          appointment of the court, on brief for appellant.
               Donald K. Stern, United States Attorney, and Frank A. Libby,
               _______________                              _______________
          Jr., Assistant United  States Attorney, on  brief for the  United
          ___
          States.

                              __________________________



                              __________________________ 


           















                    Per  Curiam.   In  this  sentencing appeal,  defendant-
                    Per  Curiam.
                    ___________

          appellant Jennierose Lynch, represented  by able counsel, assigns

          error  in  regard  to  two  district  court  determinations  that

          materially affected the  length of her  sentence.  Discerning  no

          hint of error, we summarily affirm.

                    1.   The  appellant's  first complaint  relates to  the
                    1.

          district  court's  drug  quantity   determination.    The   court

          determined   that  the   appellant  personally   participated  in

          transactions  involving   between  two  and  one-half   and  four

          kilograms  of cocaine;  that the  conspiracy of  which she  was a

          member,  during   the   period  of   her   membership,   launched

          transactions  involving another  five to  fifteen kilograms  at a

          minimum; that many (if not all) of these transactions occurred in

          the course  of jointly undertaken criminal  activity (the charged

          conspiracy) and were foreseeable to her; and that, therefore, she

          was  responsible (in  the  relevant conduct  sense, see  U.S.S.G.
                                                              ___

           1B1.3) for over five  kilograms of cocaine in toto,  bringing to
                                                      __ ____

          bear  a mandatory  minimum ten-year  sentence.   See 21  U.S.C.  
                                                           ___

          841(b)(1)(A)(ii) (providing for mandatory minimum sentence of ten

          years in cases involving five kilograms or more of cocaine).

                    We review  the district court's findings  of fact anent

          drug quantity only for clear error, and we will set such findings

          aside only if we are persuaded that the sentencing court has made

          a  "serious mistake."  United States v.  Morillo, 8 F.3d 864, 870
                                 _____________     _______

          (1st Cir. 1993).  We are not so persuaded here;  to the contrary,

          we  believe  that  the   sentencing  court's  findings  are  both


                                          2














          sufficiently explicit and sufficiently record-rooted.

                    Drug   quantities  need   not   be   determined  in   a

          mathematically   precise   fashion.     Within  the   margins  of

          reliability,  sentencing  courts  have  the  authority   to  make

          reasonable estimates based on  available information.  See, e.g.,
                                                                 ___  ____

          United States v. Sepulveda,  15 F.3d 1161, 1199 (1st  Cir. 1993),
          _____________    _________

          cert. denied, 114 S. Ct. 2714 (1994); United States v. Sklar, 920
          _____ ______                          _____________    _____

          F.2d 107,  113 (1st Cir.  1990).   It is, moreover,  settled that

          members of a drug-trafficking  conspiracy may be held accountable

          at  sentencing for  different  drug quantities  depending on  the

          circumstances of their involvement.   See United States v. Munoz,
                                                ___ _____________    _____

          36 F.3d  1229, 1237 (1st  Cir. 1994 ),  cert. denied, 115  S. Ct.
                                                  _____ ______

          1164  (1995); United States v. Garcia, 954  F.2d 12, 16 (1st Cir.
                        _____________    ______

          1992).   In  respect to  a  defendant's accountability  for  drug

          transactions  in  which  she   did  not  personally  participate,

          foreseeability is the key.  See Garcia, 954 F.2d at 16.   "In the
                                      ___ ______

          usual  case,  what is  foreseeable depends  on  the scope  of the

          defendant's agreement with the other participants in the criminal

          enterprise."  Munoz, 36 F.3d at 1237.
                        _____

                    Here, the record reveals  that the district court fully

          understood these  principles, applied the correct legal standard,

          and made a fact-sensitive  determination of what trafficked drugs

          were, in  the court's words, "reasonably  foreseeable or actually

          known to [Lynch]  . .  . during the  time she  was a knowing  and

          willing participant in th[e]  conspiracy."  These findings cannot

          be  set aside under the jurisprudence of clear error.  After all,


                                          3














          the district court heard  over ten weeks of trial  testimony, and

          also had  the benefit of a  compendious presentence investigation

          report  (PSI  Report)    a report  that  was not  contradicted by

          countervailing  evidence  in  any  relevant  particulars.     The

          testimony and the specifics in  the PSI Report, viewed  favorably

          to the government, fully  substantiate the findings.  No  more is

          exigible.  See, e.g., United States  v. Gonzalez-Vazquez, 34 F.3d
                     ___  ____  _____________     ________________

          19, 25 (1st Cir. 1994) (discussing utility at sentencing of facts

          contained  in PSI Report); United  States v. Ruiz,  905 F.2d 499,
                                     ______________    ____

          508 (1st Cir. 1990) (discussing utility of trial testimony in the

          sentencing phase);  see also United States  v. Jimenez-Otero, 898
                              ___ ____ _____________     _____________

          F.2d  813, 815 (1st Cir.  1990) (explaining that,  when there are

          two  or  more plausible  views  of the  evidence,  the sentencing

          court's choice among them cannot be clearly erroneous).1

                    2.  The appellant's second issue involves the so-called
                    2.

          "safety valve" provision, 18  U.S.C.   3553(f), which  in certain

          cases constrains the application of  mandatory minimum sentences.

          Pursuant to this  provision, the sentencing court  is directed to

          impose  a sentence  in  accordance with  the guidelines  (without

          regard  to  any  statutory  minimum)  if  a  convicted  defendant

          satisfies five set criteria.   See id.; see also  U.S.S.G.  5C1.2
                                         ___ ___  ___ ____

          (Nov. 1995)  (implementing the  statute).   The court below  held

          that Lynch failed to meet the fifth of these criteria in that she
                              
          ____________________

               1Lynch's contention  that the district court  failed to make
          specific subsidiary findings of fact related to the drug quantity
          issues  is unavailing.  The sentencing  court's findings need not
          be  precise to the point of pedantry.  Here they are sufficiently
          explicit and comprehensive to withstand criticism.

                                          4














          did  not  provide  complete  and  truthful  information  "to  the

          Government"  in  the  appropriate  time   frame.    18  U.S.C.   

          3553(f)(5).  Lynch argues that she satisfied this  requirement by

          providing the information  to the probation officer in the course

          of  the  compilation  of the  PSI  Report.    The district  court

          disagreed with Lynch's argument.  So do we.

                    We  need not  tarry.   While this  case was  pending on

          appeal, a panel of this court decided the precise point, contrary

          to  the  appellant's  position,   in  United  States  v.  Jimenez
                                                ______________      _______

          Martinez, No. 95-1511,  slip op. at 19  (1st Cir. Apr.  24, 1996)
          ________

          (concluding that "government"  as used in 18  U.S.C.   3553(f)(5)

          and U.S.S.G.   5C1.2(5) refers exclusively  to the  prosecutorial

          authority, and not  to the probation department); see also United
                                                            ___ ____ ______

          States v. Montanez, No. 95-2096,  slip op. at 6-7 (1st Cir.  Apr.
          ______    ________

          24,  1996).   Jimenez Martinez  is binding  here, and  blocks the
                        ________________

          appellant's desired access to the safety valve.

                    We  need  go  no  further.2   Because  the  appellant's

          points are  unpersuasive, we summarily affirm  her conviction and

          sentence.





          Affirmed.  See 1st Cir. R. 27.1.
          Affirmed.  See 1st Cir. R. 27.1.
          ________   ___


                              
          ____________________

               2Given the  view that  we take  of the  merits, we  need not
          reach   and express no opinion upon   the government's contention
          that  the appellant, in executing the  plea agreement, waived her
          right to prosecute this appeal.


                                          5









